USCA Case #22-1216         Document #2080548            Filed: 10/17/2024    Page 1 of 4


               IN THE UNITED STATES COURT OF APPEALS
               FOR THE DISTRICT OF COLUMBIA CIRCUIT


                                              )
TDCE CONSORTIUM,                              )
                                              )
      Petitioner,                             )
                                              )
      v.                                      )        Case No. 22-1216
                                              )
U.S. ENVIRONMENTAL                            )
PROTECTION AGENCY,                            )
                                              )
      Respondent.                             )
                                              )

               JOINT MOTION TO EXTEND DEADLINES FOR
                  ALL INITIAL FILINGS BY SIX MONTHS

      Petitioner TDCE Consortium and Respondent U.S. Environmental Protection

Agency (EPA) hereby move the Court for an order extending by six (6) months all

deadlines for initial filings reflected in the Court’s Order of April 12, 2024. In further

support of this motion, the parties state that:

      1.     Based on ongoing negotiations, the parties have agreed to the requested

extension so that they may better determine what procedural motions, dispositive

motions, and other initial filings may be appropriate prior to the initial filing

deadlines.

      2.     Should the Court grant this motion, the new deadline for the initial

filings and procedural motions due October 22, 2024, will be April 22, 2025, and the
USCA Case #22-1216        Document #2080548            Filed: 10/17/2024     Page 2 of 4


new deadline for all the initial filings and dispositive motions due November 6,

2024, will be May 6, 2025.

      WHEREFORE, the parties jointly request that the Court issue an order

extending the initial filing deadlines reflected in the Court’s Order of April 12, 2024,

by six (6) months.

                                        Respectfully submitted,




Dated: October 17, 2024

/s/ Laura J. Brown                             /s/ Kelly N. Garson
Laura J. Brown                                 Kelly N. Garson
U.S. Department of Justice                     Lynn L. Bergeson
Environment & Natural Resources                BERGESON & CAMPBELL, P.C.
Division                                       2200 Pennsylvania Ave., N.W.
Environmental Defense Section                  Suite 100W
P.O. Box 7611                                  Washington, DC 20037
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Counsel for Respondent EPA                     Counsel for Petitioner TDCE
                                               Consortium




                                           2
USCA Case #22-1216        Document #2080548         Filed: 10/17/2024    Page 3 of 4


                          CERTIFICATE OF SERVICE

      I hereby certify that on October 17, 2024, I electronically filed the foregoing

Joint Motion To Extend Deadlines For All Initial Filings By Six Months by using

the Case Management/Electronic Case File (CM/ECF) system, which will

electronically serve all counsel of record.


Dated: October 17, 2024                 /s/ Kelly N. Garson
                                        Kelly N. Garson
                                        Counsel for Petitioner TDCE Consortium




                                          3
USCA Case #22-1216        Document #2080548        Filed: 10/17/2024   Page 4 of 4



        CERTIFICATE OF COMPLIANCE TYPE-VOLUME LIMIT,
     TYPEFACE REQUIREMENTS, AND TYPE-STYLE REQUIREMENTS

Counsel hereby certifies that:

1.     This document complies with the word limit of Federal Rule of Appellate

       Procedure 27(d)(2)(A) because, excluding the parts of the document

       exempted by Federal Rule of Appellate Procedure 32(f), this document

       contains 171 words.

2.     This document complies with the typeface requirements of Federal Rule of

       Appellate Procedure 32(a)(5) and type-style requirements of Federal Rule of

       Appellate Procedure 32(a)(6) because this document has been prepared in a

       proportionally spaced typeface using Microsoft Word 2016 using 14-point

       Times New Roman font.


Dated: October 17, 2024               /s/ Kelly N. Garson
                                      Kelly N. Garson
                                      Counsel for Petitioner TDCE Consortium




                                        4
